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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

 IRON WORKERS ST. LOUIS DISTRICT                     )
 COUNCIL PENSION TRUST;                              )
 IRON WORKERS ST. LOUIS DISTRICT                     )
 COUNCIL ANNUITY TRUST; and                          )      CASE NO.: 4:19-cv-2627
 IRON WORKERS ST. LOUIS DISTRICT                     )
 COUNCIL WELFARE PLAN.                               )      JUDGE:
                                                     )
                        Plaintiffs,                  )      MAG. JUDGE:
                                                     )
         vs.                                         )
                                                     )
 T3 CONSTRUCTION LLC,                                )
 A Nevada Limited Liability Company,                 )
                                                     )
                        Defendant.                   )

                                         COMPLAINT

        NOW COME the Plaintiffs, the IRON WORKERS ST. LOUIS DISTRICT COUNCIL

PENSION TRUST, the IRON WORKERS ST. LOUIS DISTRICT COUNCIL ANNUITY

TRUST, and the IRON WORKERS ST. LOUIS DISTRICT COUNCIL WELFARE PLAN, by

and through their attorneys, JOHNSON & KROL, LLC, complaining of the Defendant T3

CONSTRUCTION LLC and in support, allege as follows:

                                 JURISDICTION AND VENUE

1.      This action arises under Section 502 and 515 of the Employee Retirement Income Security

        Act (hereinafter referred to as “ERISA”) (29 U.S.C. §§ 1132 and 1145). The Court has

        jurisdiction over the subject matter of the action pursuant to 29 U.S.C. §§ 1132(e)(1) and

        1145, as well as 28 U.S.C. § 1331.

2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) and 29 U.S.C. §

        1132(e)(2) in that the IRON WORKERS ST. LOUIS DISTRICT COUNCIL PENSION


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         TRUST, the IRON WORKERS ST. LOUIS DISTRICT COUNCIL ANNUITY TRUST,

         and the IRON WORKERS ST. LOUIS DISTRICT COUNCIL WELFARE PLAN

         (collectively, the “Trust Funds” or “Plaintiffs”) are administered within the jurisdiction of

         the United States District Court, Eastern District of Missouri, Eastern Division.

                                              PARTIES

3.       The Trust Funds receive contributions from numerous employers pursuant to collective

         bargaining agreements, and therefore, are multiemployer benefit plans as defined by 29

         U.S.C. § 1002.

4.       The Trust Funds were established and are administered pursuant to the terms and

         provisions of certain Agreements and Declarations of Trust (“Trust Agreements”).

5.       Pursuant to 29 U.S.C. § 1132(a)(3), the Trust Funds are authorized to bring this action on

         behalf of its participants and beneficiaries for the purpose of collecting unpaid

         contributions.

6.       The Local Union No. 321 of the International Association of Bridge, Structural,

         Ornamental and Reinforcing Iron Workers (“Local 321”) is the bargaining representative

         of Defendant T3 CONSTRUCTION LLC’s bargaining unit employees.

7.       The Defendant T3 CONSTRUCTION LLC (“T3”) is a Nevada Limited Liability Company

         with its principal place of business in Omaha, Nebraska.

                                       COUNT I
                               BREACH OF SITE AGREEMENT

8.       Plaintiffs re-allege and incorporate the allegations contained in paragraphs 1-7 of this

         Complaint with the same force and effect as if fully set forth herein.

9.       The Defendant is an employer engaged in an industry affecting commerce.

10.      On July 22, 2019, the Defendant entered into a Participation Agreement with the Trust

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         Funds. (The Participation Agreement is attached as Exhibit 1).

11.      Through the Participation Agreement, Defendant T3 agreed to be bound by the Trust

         Agreements.

12.      and to pay contributions in the amount and in conformance with the terms and provisions

         of the collective bargaining agreement (“CBA”) for the Iron Workers Local Union within

         whose territorial jurisdiction work is being performed.

13.      Pursuant to the Participation Agreement and Trust Agreements, T3 is required to make

         monthly reports of hours worked by covered employees and pay contributions in the

         amount and in conformance with the terms and provisions of the collective bargaining

         agreement (“CBA”) for the Iron Workers Local Union within whose territorial jurisdiction

         work is being performed..

14.      Pursuant to the Trust Agreements, the Trust Funds adopted a Uniform Policy on Delinquent

         Employer Contributions (“Delinquent Contributions Policy”).

15.      Pursuant to Section D, Paragraph 1 of the Delinquent Contribution Policy, employers who

         fail to submit their monthly contribution reports and contributions to the Trust Funds on a

         timely basis are responsible for the payment of liquidated damages equal to ten percent

         (10%) of the amount of unpaid contributions and interest at the rate of one and one-half

         percent (1.5%) per month compounded monthly unless the applicable CBA explicitly states

         otherwise.

16.      Monthly contribution reports and contributions are due on the fifteenth (15 th) day of the

         month following the month in which the work was performed.

17.      Pursuant to Section 502(g)(2) of ERISA and the Trust Agreements, employers who fail to

         submit their monthly contribution reports and contributions to the Trust Funds shall be



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         responsible for payment of attorney’s fees and costs associated with the collection of the

         delinquent contributions.

18.      T3 has failed to submit monthly contribution reports to the Trust Funds for July and August

         2019.

19.      T3 has failed to submit contributions to the Trust Funds in the amount of $7,877.20 for

         July and August 2019.

20.      As a result of T3’s failure to timely submit the contributions for July and August 2019,

         liquidated damages have been assessed in the aggregate amount of $787.72 and interest

         accrued in the amount of $118.16.

21.      Plaintiffs have been required to employ the undersigned attorneys to collect the monies

         that are due and owing from T3.

22.      Plaintiffs have complied with all conditions precedent in bringing this suit.

23.      T3 is obligated to pay the reasonable attorney’s fees and court costs incurred by the

         Plaintiffs pursuant to the Trust Agreements and 29 U.S.C. §1132(g)(2)(D).



WHEREFORE, Plaintiffs respectfully request:

A.       That this Honorable Court enter an Order requiring T3 to submit its Monthly Contribution

         Reports for the months of July and August 2019;

B.       That Judgment be entered in favor of Plaintiffs and against Defendant T3 in the amount of

         $7,877.20 for unpaid contributions from July and August 2019;

C.       That Judgment be entered in favor of the Trust Funds and against Defendant T3 for unpaid

         liquidated damages in the amount $787.72 for the months of July and August 2019;

D.       That Judgment be entered in favor of the Trust Funds and against Defendant T3 for unpaid



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        interest in the amount of $118.16 for the months of July and August 2019;

E.      That Judgment be entered in favor of Plaintiffs and against Defendant T3 for any other

        contributions, liquidated damages, and interest found to be due and owing in addition to

        the amounts referenced in paragraphs B through D above;

F.      That Defendant T3 be ordered to pay the reasonable attorney’s fees and costs incurred by

        the Plaintiffs pursuant to the Trust Agreements and 29 U.S.C. § 1132(g)(2)(D); and

G.      That this Court grant the Plaintiffs any other relief that this Court deems to be just and

        equitable pursuant to 29 U.S.C. § 1132(g)(2)(E) or otherwise.



                                                     Respectfully Submitted,

                                                     IRON WORKERS ST. LOUIS
                                                     DISTRICT COUNCIL PENSION
                                                     TRUST FUND et al.

                                                     /s/ William M. Blumthal, Jr.
                                                     One of Plaintiffs’ Attorneys


William M. Blumthal, Jr.
Bar No. 6281041(IL)
JOHNSON & KROL, LLC
311 South Wacker Drive, Suite 1050
Chicago, Illinois 60606
blumthal@johnsonkrol.com
(312) 372-8587




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